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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                            |
                                  |
NEIGHBORS LEGACY HOLDINGS, INC., |                             CASE NO. 18-33836-H1-11
                                  |                            Chapter 11
      Debtor                      |
                                  |
MARK SHAPIRO, TRUSTEE             |
OF THE UNSECURED CREDITOR TRUST |
OF NEIGHBORS LEGACY HOLDINGS,     |
INC. AND ITS DEBTOR AFFILIATES,   |
      Plaintiff                   |
                                  |
VS.                               |                            ADV. NO. 20-03016
                                  |
TOM VO, ET AL.,                   |                            JURY DEMANDED
      Defendants                  |


                         INITIAL RULE 26 DISCLOSURES
                  BY DEFENDANTS UCBAMICHAELHOLDINGS, LTD.
                 AND UCBAMICHAEL HOLDINGS MANAGEMENT, LLC


To:      Plaintiff, Mark Shapiro, Trustee of the Unsecured Creditor Trust of Neighbors Legacy
         Holdings, Inc. and its Debtor Affiliates, by and through the Plaintiff's attorney of record,
         Clifford H. Walston of the law firm of Walston Bowlin, LLP to email address
         cliff@walstonbowlin.com

         Comes now UcBamichael Holdings, Ltd. and UcBamichael Holdings Management, LLC,

Defendants, and pursuant to Fed.R.Civ.P. 26 and Fed.R.Bankr.P 7026 makes their initial

disclosures, and respectfully represents:

        A. The name and, if known, the address and telephone number of each individual likely
to have discoverable information that the Plaintiff may use to support its claims or defenses,
unless solely for impeachment:

Dr. Elanie UcBamichael, MD, 7745 Village Dr., Beaumont, TX 77713, phone 646-319-2900,
email elanieucbamichael@gmail.com
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       B. A copy of, or a description by category and location of, all documents, data
compilations, and tangible things that are in the possession, custody, or control of the Plaintiff
and that the Plaintiff may use to support its claims or defenses, unless solely or impeachment:

           UcBamichael Holdings Exhibits

 EXHIBIT    DESCRIPTION OF EXHIBIT
   1        Bank Statements showing no money received
            by UcBamichael Holdings Ltd. from in NEC Port
            Arthur Emergency Center LP

       Copies of UcBanichael Holdings’ Exhibit are served upon the Trustee’s attorney of
record along with these disclosures.

        C. A computation of any category of damages claimed by Plaintiff, making available for
inspection and copying as under Rule 34 the documents or other evidentiary material, not
privileged, or protected from disclosure, on which such computation is based, including
materials bearing on the nature and extent of injuries suffered:

      UcBamichael Holdings, Ltd. is a limited partnership. UcBamichael Holdings
Management, LLC is its general partner.

        Elanie UcBamichael, MD invested the sum of $75,000 to purchase a 3 percent Class B
limited partnership equity interest in NEC Port Arthur Emergency Center LP. In December 2017,
Elanie UcBamichael, MD transferred her equity interest to UcBamichael Holdings, Ltd.
UcBamichael Holdings Ltd. did not own any interest in NEC Port Arthur Emergency Center LP
before January 1, 2018. Elanie UcBamichael MD, neither personally nor on behalf of
UcBamichael Holdings, Ltd. and UcBamichael Holdings Management, LLC did not participate
in the management of NEC Port Arthur Emergency Center LP or the Port Arthur clinic.
UcBamichael Holdings, Ltd. was merely an equity investor in the limited partnership beginning
January 1, 2018.

        The Trustee claims that UcBamichael Holdings, Ltd. received distributions of money
from NEC Port Arthur Emergency Center LP in the year 2018 in the total amount of $6,155.00,
but that is false. UcBamichael Holdings, Ltd. and UcBamichael Holdings Management, LLC
did not ever receive any distributions of money from NEC Port Arthur Emergency Center LP,
and did not ever receive any money or any other assets from any of the other debtor entities.
This is proved by the bank statements for UcBamichael Holdings, Ltd.’s account at Wells Fargo
Bank for the period of January 1, 2018 through July 13, 2018, which is UcBamichael Holdings
Exhibit 1. This is the only bank account which these defendants had. The bank statements show
that there were no receipts whatsoever from NEC Port Arthur Emergency Center LP, or from any
other debtor entity.

      Despite several requests to the Trustee’s counsel, the Trustee has not furnished any
documentary proof that the Debtors ever made any payments to UcBamichael Holdings, Ltd. or
to UcBamichael Holdings Management, LLC.
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     Therefore, the Trustee is entitled to recover nothing from UcBamichael Holdings, Ltd. or
UcBamichael Holdings Management, LLC on any theory alleged in the Trustee’s Complaint.

        UcBamichael Holdings, Ltd. and UcBamichael Holdings Management, LLC are entitled
to recover their reasonable attorney’s fees from the Trustee for the services of their attorney to
defend this complaint, pursuant to Tex. Bus. & Comm. Code § 24.013.

       D. Inspection and copying under Rule 34 any insurance agreement under which any
person carrying on an insurance business may be liable to satisfy part or all of a judgment which
may be entered in the action or to indemnify or reimburse for payments made to satisfy the
judgment:

None.

       E. The identity of any person whom this Defendant may use at trial to present evidence
under Rules 702, 703 or 705 of the Federal Rules of Evidence:

       John Mayer, attorney at law, Ross, Banks, May, Cron & Cavin, P.C., 7700 San Felipe,
Suite 550, Houston, Texas 77063, will offer factual and expert testimony as to the reasonable and
necessary attorney services and attorney's fees for defending these Defendants.

       Itemized statements describing the attorney services will be furnished at the appropriate
time. The hourly rate is $350 per hour, which is a reasonable hourly rate.

        At this time, a reasonable estimate of UcBamichael Holdings, Ltd. and UcBamichael
Holdings Management, LLC’s reasonable attorney’s fees for defending the Trustee’s Complaint
is $20,000.

       A copy of the Resume of John Mayer is served upon the Trustee’s attorney of record
along with these disclosures.

                                             Respectfully submitted,

                                             ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                             By:
                                             John Mayer
                                             Texas Bar Number 13274500
                                             Southern District Number 502092
                                             7700 San Felipe, Suite 550
                                             Houston, Texas 77063
                                             Phone 713-626-1200
                                             Email jmayer@rossbanks.com
                                             Attorney for DefendantsUcBamichael Holdings,
                                             Ltd. and UcBamichael Holdings Management, LLC
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                               CERTIFICATE OF SERVICE

        I certify that true copies of this document was served upon the Trustee by email to the
Trustee’s attorney of record Clifford Walston of the law firm of Walston Bowlin, LLP, to email
address cliff@walstonbowlin.com, and on all persons who have entered an appearance in this
case electronically by means of the Court’s CM/ECF System contemporaneously with filing.
This service was completed on August 10, 2020.


                                            .
                                                John Mayer
